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                              UNITED STATES DISTRICT COURT
                                          OFFICE OF THE CLERK
                                          DISTRICT OF NEVADA
                                  LLOYD D. GEORGE U.S. COURTHOUSE
                                     333 LAS VEGAS BLVD S RM 1334
                                          LAS VEGAS NV 89101
                                              (702) 464-5400


Case Number: 2:18-cv-02271-GMN-PAL

Case Title: McDonald v. City of Las Vegas/State of NV et al

Dear Litigant:

       You are notified that the above case number has been assigned to your action. You must
include the complete case number on all documents sent to the Court for filing in this case. Failure
to do so results in delayed processing of your documents.

       All matters in this action shall be sent to the following address until further notice:

                              U.S. District Court Office of the Clerk
                          333 Las Vegas Boulevard South, Room 1334
                                     Las Vegas, NV 89101

If you are incarcerated at a facility that uses electronic filing, please continue to use electronic
filing.

         The Court will review your complaint before docketing and service of defendants. The
Court will “screen” your complaint to identify any “colorable” claims. The Court will also dismiss
any claims that are “frivolous, malicious, or fail to state a claim upon which relief may be granted”
or if the complaint “seeks monetary relief from a defendant who is immune from such relief.” See
28 U.S.C. § 1915A(a), (b). This process may take many months.

       For timely processing of your pleadings or correspondence, please comply with our Local
Rules of Practice for the U.S. District Court District of Nevada, in particular:

   x   In Forma Pauperis Application: If you intend to proceed in forma pauperis, you must
       complete an application to proceed in forma pauperis on this Court’s approved form and
       attach both an inmate account statement for the past six months and a properly executed
       financial certificate. The Court will not screen your case until you file a fully complete
       application to proceed in forma pauperis on the correct form with complete financial
       attachments. (Local Special Rule 1-1, 1-2)

   x   Change of Address: You should immediately file with the Court written notification of any
       change of address you have. This change of address includes moving to a new institution
       or being released on parole. The written notification must include proof of service upon
       each opposing party or the party’s attorney. If you fail to follow this rule, the Court may
       dismiss your case. (Local Rule IA 3-1)




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   x   Formatting: The documents you submit to the Court must be legible, on letter-sized paper
       (8 ½” x 11” paper), with writing on one (1) side of the page only with margins of at least
       one (1) inch on all four sides of the paper. Pages should be stapled, when possible, once
       in the top left corner of the first page. Pages within a document should not be stapled
       separately. No other adhesive is permitted. Please see the attached Exhibit A for a
       sample. (Local Rule IA 10-1)

   x   Caption: Every document you submit to the Court must include your name, address, and
       prisoner identification number in the upper left hand corner of the first page. The caption
       on the first page must include the title of this Court, the title of the action, the case number
       assigned to this action (including all initials and letters that follow the number), and the title
       of your document. If you are pursuing more than one action in this Court, you must submit
       a separate original document with the appropriate case number for each action in which
       you want the document filed. Please see attached Exhibit A for a sample. (Local Rule IA
       10-2)

   x   Copies of Filings:

           o   E-Filing Institutions: The Court cannot provide copies or mailing service for
               parties, even indigent plaintiffs proceeding in forma pauperis. If you wish to receive
               copies of electronically filed documents from the Court, the cost is $0.50 per page.
               (Local Rule IC 1-1(i)(5))

           o   Mail Institutions: If you wish to receive a file-stamped copy of any pleading or
               other paper, you must include one (1) additional copy for that purpose in your mail
               filing. The Court cannot provide copies or mailing service for parties, even indigent
               plaintiffs proceeding in forma pauperis. If you wish to receive copies of documents
               or files from the Court, the cost is $0.50 per page. (Local Rule 10-1)

   x   Amended Complaints: If you file a motion to amend your complaint, you must attach the
       proposed amended complaint to the motion. The proposed amended complaint must be
       complete in itself and include all claims, defendants, and factual allegations that you wish
       to pursue in the proposed amended complaint. (Local Rule 15-1)

Other Provisions:

   x   Request for Case Status: The Court will notify you as soon as any action is taken in your
       case. Due to the large number of civil actions pending before the Court, THE CLERK IS
       UNABLE TO RESPOND IN WRITING TO INDIVIDUAL INQUIRIES REGARDING THE
       STATUS OF YOUR CASE. As long as you keep the Court apprised of your current
       address, you will receive all Court decisions which might affect the status of your case.

   x   Letters to the Clerk’s Office: The Clerk of the Court is unable to respond to letters
       requesting status. Requests must be in the form of a motion and not just a letter.

   x   Copy Work Limits: You should use your allotment of copy expenses wisely. You are not
       entitled to additional copy amounts from the prison or jail without showing a specific



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    need (i.e., you have used your previous allotment prudently and can specifically identify
    the additional copies that are required).

x   Repetitive Motions: Filing multiple motions requesting the same relief is a litigation tactic
    that strains the resources of the Court and generally delays a decision in the case. The
    Court may impose sanctions on parties who engage in such litigation tactics.

x   Evidence: The parties may not file evidence with the Court until the course of litigation
    brings the evidence into question.

x   Screening Orders: If you have: (1) submitted a complaint and (2) filed a fully complete
    in forma pauperis application or paid the full filing fee for a civil action, the Court will screen
    your complaint and issue a separate screening order in the future. The Court may issue
    a screening order several months after you submit your complaint.

x   Service: The Court will order service upon defendants when it is time to do so.

x   Docket Sheet: The Court will keep track of your filings on a docket sheet. A docket sheet
    is a formal record on which judges or court clerks briefly note all proceedings and filings
    in a court case. If you wish to receive a copy of the docket sheet in your case from the
    Court, the cost is $0.50 per page.

           This is an advisory letter only. Please do not rely solely on this letter. All litigants
    are required to follow the Local Rules of Practice for the District of Nevada. A copy of
    the Local Rules is maintained at each Nevada Department of Corrections Facility.

           If you would prefer to read this letter in Spanish, please request a Spanish
    version of this letter from the Clerk of Court. Parties are reminded that all papers
    submitted to the court must be written in English.

           Si usted prefiere leer esta carta en español, por favor, solicite una versión
    en español de esta carta a la oficina del secretario del juzgado (Clerk of Court).
    Se le recuerda a las partes que todos los documentos que presenten en el
    juzgado deben estar ecritos en inglés.



                                             DEBRA K. KEMPI, CLERK


                                             By: ______/s/____________
                                                   Deputy Clerk




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Name
Inmate #
Address



                          UNITED STATES DISTRICT COURT

                              DISTRICT OF NEVADA




Your name,                              Case # __:___-CV-_______-____(   )

             Plaintiff,

v.                                      TITLE OF DOCUMENT

Name(s) of Defendants,

            Defendants.
__________________________/




                                EXHIBIT A
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